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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

UNITED STATES OF AMERICA and
THE STATE OF GEORGIA, THE STATE
OF COLORADO, THE STATE OF
FLORIDA, THE STATE OF NORTH
CAROLINA, THE COMMONWEALTH             Civil Action No:
OF MASSACHUSETTS, THE STATE OF
LOUISIANA, THE STATE OF                Hon.:
TENNESSEE, THE STATE OF INDIANA,
THE STATE OF TEXAS, THE STATE OF
WASHINGTON, and THE
COMMONWEALTH OF VIRGINIA,
ex rel. RUSSELL MILLER                 FILED UNDER SEAL
                                       PURSUANT TO
Plaintiffs,                            31 U.S.C. § 3730(b)(2)

v.                                     DO NOT PLACE IN PRESS BOX

CRH MEDICAL CORPORATION,               DO NOT ENTER ON PACER
CRH ANESTHESIA MANAGEMENT,
LLC., TUSHAR RAMAI, M.D., RICHARD      JURY TRIAL DEMANDED
BEAR, and JAY KREGER

CRH ANESTHESIA of GEORGIA, LLC
GASTROENTEROLOGY ANESTHESIA
ASSOCIATES, LLC
OCONEE RIVER ANESTHESIA
ASSOCIATES, LLC
LAKE LANIER ANESTHESIA
ASSOCIATES, LLC
SOUTH METRO ANESTHESIA
ASSOCIATES, LLC, and JOHN DOES 1-
50 (collectively “Georgia entities”)


CRH ANESTHESIA of COLORADO, LLC
CENTRAL COLORADO ANESTHESIA
ASSOCIATES, LLC,
and JOHN DOES 1-50
(collectively “Colorado entities”)

METRO ORLANDO ANESTHESIA
ASSOCIATES, LLC



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FLORIDA PANHANDLE ANESTHESIA
ASSOCIATES, LLC
CRYSTAL RIVER ANESTHESIA
ASSOCIATES, LLC
ORANGE COUNTY ANESTHESIA
ASSOCIATES, LLC,
FDHS Anesthesia, LLC,
and JOHN DOES 1-50
(collectively “Florida entities”)


ANESTHESIA CARE ASSOCIATES,
LLC,
and JOHN DOES 1-50
(collectively “Indiana entities”)

SHREVEPORT SEDATION
ASSOCIATES, LLC and
JOHN DOES 1-50
(collectively “Louisiana entities”)


COASTAL CAROLINA SEDATION
ASSOCIATES, LLC
TRIAD SEDATION ASSOCIATES , LLC,
and JOHN DOES 1-50
(collectively “North Carolina entities”)


LAKE ERIE SEDATION ASSOCIATES,
LLC
WESTERN OHION SEDATION
ASSOCIATES, LLC
CRH ANESTHESIA of OHIO, LLC,
and JOHN DOES 1-50
(collectively “Ohio entities”)

TENNESSEE VALLEY ANESTHESIA
ASSOCIATES, LLC
KNOXVILLE GASTROENTEROLOGY
ANESTHESIA ASSOCIATES, LLC
CRH ANESTHESIA of KNOXVILLE,
LLC,
and JOHN DOES 1-50
(collectively “Tennessee entities”)



                                      2
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     CENTRAL VIRGINIA ANESTHESIA
     ASSOCIATES, LLC and JOHN DOES 1-50

     PUGET SOUND
     GASTROENTEROLOGY, PLLC
     LAKE WASHINGTON ANESTHESIA,
     PLLC, and JOHN DOES 1-50
     (collectively “Washington entities”)

     TEXAS AND MASSACHUSETTS
     ENTITIES, JOHN DOES 1-50

     Defendants.

    COMPLAINT FOR DAMAGES UNDER THE FEDERAL FALSE CLAIMS ACT
                    TRIAL BY JURY REQUESTED


       NOW INTO COURT, through the undersigned counsel, comes Relator, Russell Miller,

in the name of and on behalf of the United States of America, the State of Colorado, Florida,

Georgia, Indiana, Louisiana, North Carolina, Ohio, Tennessee, Virginia, and Washington, who

submit this Complaint for Damages as follows:

                                      INTRODUCTION

   1. This action arises under 31 U.S.C. § 3729 et seq., also known as the False Claims Act

       (“FCA”), to recover treble damages and civil penalties on behalf of the United States of

       America and the States arising out of Defendants’ knowing violations of the FCA and State

       FCA’s and unjust enrichment, as well as the United States’ payments to Defendants by

       mistake.

   2. Specifically, Defendants knowingly presented or caused to be presented numerous false

       claims for payment or approval to the United States and the State of Georgia Medicaid

       program in violation of 31 U.S.C. § 3729(a)(1), Ga. Code Ann. § 49-4-168. l (a)(l), and

       other similar state FCAs. Defendants also knowingly made, used, or caused to be made or



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   used, false records or statements to get false claims paid or approved by the United States

   and the State of Georgia Medicaid Program in violation of 31 U.S.C. § 3729(a)(2) and Ga.

   Code Ann. § 49-4-168. l (a)(2), and other similar state FCAs.

3. This Complaint will describe the fraudulent practices Defendants have committed and

   participated in, individually and collectively, to defraud the federal and state governments.

   Specifically, this Complaint will describe a systematic scheme by which CRH Anesthesia

   Management, LLC (hereinafter referred to as “CRHA”) forms sham joint ventures through

   which CRHA pays kickbacks to referring physicians in exchange for the referral of

   anesthesia services to CRHA.

4. The referring physicians are commonly gastroenterology doctors (“GIs”), who perform

   surgeries at, and have ownership in, ambulatory surgical centers (hereinafter referred to as

   “ASCs”).

5. Prior to the joint venture being established, the referring physicians owned and controlled

   the anesthesia service providers and the provision of anesthesia services at their ASCs.

   CRHA formed the joint ventures to essentially buy the anesthesia referrals from the

   referring physicians.

6. The scheme is simple but well disguised. CRHA forms companies nationwide to provide

   anesthesia services to ASCs. CRHA uses these newly established companies to form sham

   joint ventures wherein CRHA pays ASCs and referring physicians for exclusive referrals

   of anesthesia services. After CRHA establishes and forms an entity, CRHA purports to

   purchase an ownership interest in the newly established entity, commonly through a lump

   sum payment to the referring physicians. This newly created entity assumes all anesthesia

   services for the ASC.



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7. The money in these transactions flows directly to the ASCs and their physician owners,

   who are the referring physicians. The joint venture replaces the existing physician owned

   anesthesia company then servicing the ASC and that was wholly owned by the ASC and

   its physicians, which in itself is also a violation of the Anti-Kickback Statute (“AKS”), 42

   U.S.C. § 1320a-7b et seq. and FCA. Relator believes the joint venture purchase agreement

   guarantees exclusive referrals to CRHA and further by requiring reimbursement of the

   lump sum purchase payment if the referring physicians leave the practice before a

   designated time period.

                                JURISDICTION AND VENUE

8. Under § 3732 of the FCA, this Court has exclusive jurisdiction over the actions brought

   under the FCA. Furthermore, jurisdiction over this action is conferred on this Court by 28

   U.S.C. § 1331 because this civil action arises under the laws of the United States.

9. This Court has supplemental jurisdiction over all other claims set forth in this Complaint

   because these claims are so related to the claims arising under the federal False Claims Act

   that they form part of the same case or controversy. 28 U.S.C. § 1367.

10. Venue is proper in this district pursuant to § 3732(a) of the Act, which provides that any

   action under § 3730 may be brought in any judicial district in which the Defendant or in

   the case of multiple Defendants, any one Defendant, can be found, resides, transacts

   business, or in which any act proscribed by § 3729 occurred. Acts that are the subject of

   this action occurred in the State of Georgia, within this judicial district, as well as

   nationwide. At all times material thereto, Defendants regularly conducted substantial

   business within the State of Georgia, maintained permanent employees in the State of

   Georgia, and made, and is making, significant sales and claims for reimbursement within



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   the State of Georgia within this judicial district. Additionally, venue is proper in this

   district pursuant to 28 U.S.C. § 1391(b)(1)-(2).

                                    FILING UNDER SEAL

11. Under the FCA, this Complaint is to be filed in camera and remain under seal for a period

   of at least sixty (60) days and shall not be served on Defendants until the Court so orders.

12. As required by the FCA, Relator voluntarily submitted prior to the filing of this Complaint

   a confidential written disclosure statement (subject to the attorney client and common

   interest privilege) to the United States Government and the plaintiff states, containing

   materials, evidence, and information in their possession pertaining to the allegations

   contained in this Complaint.

                                      THE PLAINTIFFS

13. The Plaintiff, the United States of America by and through its departments, the Department

   of Health and Human Services (“HHS”), particularly the Centers for Medicare and

   Medicaid Services (“CMS”) within the HHS, is responsible for administering Federal and

   Health Care Programs including Medicare and Medicaid.

14. The Medicaid Program is a State and Federal Assistance Program to provide payment of

   medical expenses for low income and disabled beneficiaries. Medicaid Program funding

   is shared by the Federal Government and those states participating in the program;

   apportionment of funding varies from state to state. The primary purpose of the Medicaid

   Program is to enable each state, as far as practicable under the circumstances in such state,

   to furnish medical assistance on behalf of families with dependent children, the aged, blind,

   or disabled individuals, whose income and resources are insufficient to meet the cost of

   necessary medical services. Medicaid covers approximately 47 million individuals



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   nationwide. States are required to provide certain basic medical services, such as in-patient

   hospital care to needy individuals. States may also cover durable medical devices and other

   services under the Medicaid Program. See 42 U.S.C. § 1396(d)(a)(12).

15. The Plaintiff, State of Georgia, by and through its Georgia Department of Community

   Health particularly the Georgia Medicaid Program, is responsible for administering the

   joint and federal-state health care program known as Medicaid in the State of Georgia.

16. Additionally, The Plaintiffs, States of Colorado, Florida, Georgia, Indiana, Louisiana,

   Massachusetts, North Carolina, Ohio, Tennessee, Virginia, and Washington are

   responsible for administering the joint and federal-state health care program known as

   Medicaid.

17. In 1965, Congress enacted Title XVIII of the Social Security Act, 42 U.S.C. § 1395 et seq.,

   known as the Federal Medicare Program, which authorizes medical benefits for the aged,

   blind, and disabled. Medicare is a health-financing program for the elderly. Entitlement

   to Medicare is based on age, disability, or affliction with end-renal disease. See 42 U.S.C.

   §§ 426, 426(a).

18. Title XIX of the Social Security Act was enacted by Congress to establish the Medicaid

   Program. See 42 U.S.C. §§ 1396-1396(v).

19. Medicaid is funded by both federal and state money, with the federal contribution

   capsulated separately for each state. See 42 U.S.C. §§ 1396(d) & 1396(D)(b).

20. Upon information and belief, the Defendants derive a substantial portion of their revenue

   from the federal and state funded programs including but not limited to: Medicare

   Programs, Medicaid Programs, Federal Employee Health Benefits, Department of




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   Veterans Affairs, Department of Defense, the Public Health Services and other federal,

   state, and city insurance plans.

                                      THE DEFENDANTS

21. Defendant, CRH Medical Corporation (hereinafter referred to as “CRH”), founded in 2000,

   is a Canada based healthcare products and service company. CRH provides products and

   services to United States gastroenterologists. CRH is headquartered in Vancouver, British

   Colombia, Canada but focuses its business on the United States. It has offices located in

   Bellevue, Washington. CRH owns the CRH O’Regan System, which provides

   gastroenterologists with the O’Regan Ligator device, training and treatment protocols for

   this device, and operational and marketing support. CRH is the owner and parent company

   of Defendant CRHA.

22. Defendant, CRH Anesthesia Management, LLC (hereinafter referred to as “CRHA”) a

   subsidiary of CRH, is a Delaware limited liability company with National Registered

   Agents, Inc. located at 1209 Orange Street, Wilmington, Delaware 19801 as its registered

   agent for service of process.

23. CRHA was formed in December of 2014 to provide GI anesthesia clinical services

   including staffing, program implementation, and management of daily operations for

   endoscopy surgery centers.

24. CRHA’s website contains statements from Defendants, Dr. Tushar Ramani and Jay Kreger,

   describing CRHA as a full-service management company. “Lastly, CRH also offers full

   anesthesia management services where an existing ambulatory surgical center seeks quality




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        anesthesia partner skilled in staffing, revenue cycle management, and the daily operations

        of an outpatient setting.”1

    25. CRHA enters into sham joint ventures (“JV”) with ASCs around the country, including

        those located in this district, in order to lock in anesthesia referrals through exclusive

        anesthesia contracts between the JV and the ASC. It shares the revenue from those referrals

        with the physician referrer owners of the ASCs.

    26. CRH states “[i]t is well known today that many gastroenterologists have implemented

        anesthesia programs; we have found that they can all benefit both clinically and financially

        from a full or partial association with CRH.”2 In its most recent 10-K, CRH represents that

        its “joint venture model allows the physician group to participate in the management of the

        anesthesia service, but also to realize value in a portion of their anesthesia business while

        retaining an ongoing revenue stream and reducing risk from an operational, regulatory, and

        reimbursement standpoint. The acquired anesthesia group provides anesthesia services to

        the partner ASC under a professional services agreement.”3

    27. CRHA began forming sham JVs with the acquisition of Gastroenterology Anesthesia

        Associates located in Atlanta, Georgia and has expanded to approximately sixty-six (66)

        ASCs in thirteen (13) states.

    28. CRHA facilities provide a minimum of 378,000 procedures annually.

    29. CRH’s ambulatory service centers include but are not limited to CRH Anesthesia of

        Colorado, LLC (Colorado), Central Colorado Anesthesia Associates, LLC (Colorado),

        Metro Orlando Anesthesia Associates, LLC (Florida), Florida Panhandle Anesthesia


1
  www.crhanesthesia.com.
2
  www.crhanesthesia.com.
3
  CRH Medical Corporation, Form 10-K, March 11, 2020, available at https://investors.crhsystem.com/wp-
content/uploads/CRHM-10K-Master-Master_Exhibits_Word.pdf (last visited December 14, 2020.)

                                                      9
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   Associates, LLC (Florida), Crystal River Anesthesia Associates, LLC (Florida), Orange

   County Anesthesia Associates, LLC (Florida), FDHS Anesthesia, LLC (Florida), CRH

   Anesthesia of Georgia, LLC (Georgia), Gastroenterology Anesthesia Associates, LLC

   (Georgia), Oconee River Anesthesia Associates, LLC (Georgia), Lake Lanier Anesthesia

   Associates, LLC (Georgia), South Metro Anesthesia Associates, LLC (Georgia),

   Anesthesia Care Associates, LLC (Indiana), Shreveport Sedation Associates, LLC

   (Louisiana), Coastal Carolina Sedation Associates, LLC (North Carolina), Triad Sedation

   Associates, LLC (North Carolina), Lake Erie Sedation Associates, LLC (Ohio), Western

   Ohio Sedation Associates, LLC (Ohio), CRH Anesthesia of Ohio, LLC (Ohio), Tennessee

   Valley Anesthesia Associates, LLC (Tennessee), Knoxville Gastroenterology Anesthesia

   Associates, LLC (Tennessee), CRH Anesthesia of Knoxville. LLC (Tennessee), Central

   Virginia Anesthesia Associates, LLC (Virginia), Puget Sound Gastroenterology, PLLC

   (Washington), and Lake Washington Anesthesia, PLLC (Washington).

30. Relator believes that CRH has entered into materially identical relationships with other

   entities besides those listed by name here, which are referred in this disclosure and will be

   referred in the complaint as John Does 1-50.

31. Defendant, Dr. Tushar Ramani, is the CEO of CRH. He has over thirty (30) years’

   experience in the anesthesia industry. Initially, Dr. Ramani worked as an anesthesiologist

   and pain management specialist. He then focused his career on the management side of

   medicine in nationally prominent healthcare service companies as co-founder of

   Anesthetix and CEO of MedOptions, Inc. Both of these companies offered management

   services in the healthcare industry.




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32. Defendant, Richard Bear, has been the CFO of CRH since 2006. He has experience in

   financial transactions and acquisition financing as the former CFO of ID Biomedical

   Corporation.

33. Defendant, Jay Kreger, president of CRH since 2016, also has over twenty-five (25) years’

   experience in business development and operations in the healthcare industry. Most

   notably, as the former vice president of HCA’s Ambulatory Surgery Division, he expanded

   HCA’s network of surgery centers through acquisitions.

                                         THE RELATOR

34. Relator, Russell Miller, is a resident of the state of Colorado and is the original source of

   the facts and information alleged herein.

35. The facts averred herein are based upon information inquired by Relator’s interaction with

   Defendants’ employees of the previous and current anesthesia companies described in this

   action, AAR and CCAA.

36. Relator has worked as a healthcare provider for twenty-five (25) years.

37. Initially, Relator was a medic in the Army National Guard. Relator graduated Nursing

   school in 1998, worked as an RN in the ICU and ER, and then was employed as a flight

   nurse at Flight for Life Colorado in Denver, Colorado from 2005-2010. Thereafter, he

   received his Master of Science in Nurse Anesthesia from Westminster College, Salt Lake

   City, Utah in December 2012.

38. Relator has practiced as a certified registered nurse anesthetist (hereinafter referred to as

   “CRNA”) for approximately 8 (eight) years. In 2013, Relator began practicing as a CRNA

   at Peak Anesthesia in Denver, Colorado. He formed Summit Comfort Anesthesia

   (hereinafter referred to as “Summit”), an anesthesia company which provides hourly



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           employment for CRNA’s. Relator works at different healthcare facilities through his own

           company. Relator also works one week per month as a 1099 hourly contractor at Citizens

           Medical Center in Colby, Kansas.

                                               LEGAL BACKGROUND

           The Federal False Claim Act (“FCA”)

      39. Pursuant to the Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(A), a cause of action

           arises when any person knowingly presents, or causes to be presented, a false or fraudulent

           claim for payment or approval.

      40. Liability also arises under 31 U.S.C. § 3729(a)(1)(B) when a person knowingly makes,

           uses, or causes to be made or used, a false record or statement material to a false or

           fraudulent claim.

      41. As defined under 31 U.S.C. § 3729(b)(1), “knowing” and “knowingly” means: (i) has

           actual knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity

           of the information; or (iii) acts in reckless disregard of the truth or falsity of the information.

           No proof of specific intent to defraud is necessary. Id.

      42. The FCA provides that any person who knowingly submits or causes to be submitted a

           false or fraudulent claim for payment or approval is liable for a civil penalty of not less

           than five thousand and five hundred dollars ($5,500) and up to eleven thousand dollars

           ($11,000) for each such claim, and three times the amount of the damages sustained by the

           government.4 The FCA empowers persons having information regarding a false or

           fraudulent claim against the government to bring an action on behalf of the government

           and to be awarded between fifteen (15) to thirty (30) percent of the amount recovered.



4
    The actual per claim damages have since been increased.

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43. If a person other than the Attorney General brings suit, the complaint must remain under

   seal and defendants must not be served until the later of ninety (90) days after the service

   of the complaint or any extension of the ninety (90) days that is requested by the Attorney

   General and granted by the court.

   CASE BACKGROUND

   The Specialty Physician/Gastroenterologist/Surgeon

44. This case involves gastroenterologists who control referrals of anesthesia.               The

   gastroenterologists (hereinafter referred to as “GI”) are the treating physician of the patient,

   the surgeons that conduct the surgery, and the surgeons that own the ASC in which the

   patient receives the surgery.      The specialty physicians at issue here are primarily

   gastroenterologists or “GI” doctors, who focus on the digestive system and conduct

   surgical procedures particular to that specialty, such as colonoscopies, endoscopies, and

   sigmoidoscopies.

   The Practice of Anesthesiology

45. Anesthesiology is a practice of medicine dedicated to the relief of pain and total care of the

   patient before, during and after their surgery. Anesthesiologists (“MDAs”) are medical

   doctors who serve a central role in the operating room and make decisions to protect and

   regulate critical life functions. Certified Registered Nurse Anesthetists (CRNAs) are

   advanced practice nurses who also administer every type of anesthetic, work in every type

   of practice setting, and provide care for every type of operation or procedure. In some

   states, CRNA’s work under the supervision of a medical doctor and in other states, CRNAs

   are allowed to practice independently.




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    46. Unlike GI doctors, MDAs and CRNAs do not have ongoing relationships with patients and

        only see patients as part of a surgical procedure. Thus, their practice depends on referrals

        by other doctors, in this case, GI doctors.

        Endoscopic Procedures

    47. “Every year there are over 75 million endoscopic procedures in the US that allow

        healthcare providers to perform hundreds of essential procedures, ranging from

        colonoscopies to treatment of pancreatic cancer.”5 “Over 19 million colonoscopies are

        performed annually, as reported in 2017, a significant contribution to the 75 million

        endoscopies performed each year in the United States. A major factor driving growth in

        colonoscopy procedures is the increasing public awareness of colon cancer, through media

        campaigns initiated by cancer awareness groups and government bodies, as well as an

        aging population that is recommended to receive regular screenings.”6

        The Advent of ASCs

    48. The anesthesia services at issue in this case are performed in ASCs owned and controlled

        by the GI doctors. An understanding of how GI doctors came to control the ASCs and

        provision of anesthesia services is important. Historically, the surgical procedures at issue

        here were performed in hospitals, rather than private offices, because the use of anesthesia

        required the safeguards of a hospital setting equipped to handle emergencies or surgical

        complications. Over the last thirty years, however, surgical techniques and technology

        improvements made it viable to increasingly conduct these surgeries in outpatient facilities.




5 Food and Drug Administration, “Quality Control Stopping Infections Before They Happen through Safer
Endoscopic Re-processing” (January 9, 2020).
6
  iData Research, An Astounding 19 Million Colonoscopies are Performed Annually in the United States, August 8,
2018, available at https://idataresearch.com/an-astounding-19-million-colonoscopies-are-performed-annually-in-the-
united-states/ (last visited December 15, 2020.)

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        In 1970, these developments led to the birth of the Ambulatory Surgical Center (ASC)

        concept.

    49. Today, nearly two-thirds of all surgeries are performed in ASCs, according to the Centers

        for Disease Control and Prevention.7

    50. There are estimated to be over five thousand ASCs across the United States based on data

        from CMS 2020.The ASC market is estimated to expand up to $52-$55 billion by 2025.

        “In 2017, 5,603 Medicare-certified ASCs treated over 3.4 million Medicare fee-for-service

        (FFS) beneficiaries.”8

    51. ASC facility services, for which payment is packaged in the ASC payment for a covered

        surgical procedure include, but are not limited to nursing, technician, and related services;

        use of the facility where the surgical procedures are performed; administrative,

        recordkeeping, and housekeeping items and services; materials, including supplies and

        equipment for the administration and monitoring of anesthesia; and supervision of the

        services of an anesthetist by the operating surgeon or other MD when required by state law.

    52. Anesthesia services are not included in the ASC facility payments and may be separately

        billable under other provisions of Medicare Part B.

        The Problem and the Response: Self-Referral and Anti-Kickback Laws

    53. The moment that the specialists (here, GIs) stood to financially profit from ownership in

        ASCs, physician ownership of ASCs exploded, particularly in specialties that perform

        surgical procedures, such as gastroenterology, which now accounts for nearly two-thirds



7
  The Ambulatory Surgery Center Association defines ASCs as health care facilities that focus on providing same-day
surgical care, including diagnostic and preventive procedures which are an alternative to hospital-based outpatient
procedures.
8
   Business Wire, United States Ambulatory Surgery Center (ASC) Market Set to Reach $52-55 Billion by 2025 -
ResearchAndMarkets.com, October 29, 2019.


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   of all procedures performed in ASCs in the United States. Indeed, by 2010, ninety (90)

   percent of ASCs were owned by physician/surgeons who self-refer.

54. Recognizing the inherent conflict of interest that was created (a driver of inappropriate use

   of services/self-referrals in ASCs), Congress sought to undo the problem in two ways. First,

   it passed a series of laws beginning in 1989 with the “Stark Law” to regulate self-referrals.

   See 42 U.S.C. § 1395nn. Second, it passed the Patient Protection and Affordable Care Act

   (“PPACA”), H.R. 3590, Section 6001, Pub. Law No. 111-148, 111 Congress 2010, which

   curtailed growth in physician ownership of surgical facilities by prohibiting both the

   creation of new and the expansion of existing physician-owned outpatient facilities.

55. The fraud in this case does not involve Stark per se because anesthesia is not a Designated

   Health Service within the scope of Stark, but it does involve a related statute – the Anti-

   Kickback Statute - which incorporates numerous Stark provisions, and which also prohibits

   referrals which are induced through the payment of a financial incentive.



   Anti-Kickback Statute

56. In 1972, Congress enacted the federal health care Anti-Kickback Statute (“AKS”), 42

   U.S.C. § 1320a-7b et seq., which prohibited payments, directly or indirectly designed to

   induce a person to refer or recommend services that may be paid for by federal government.

   AKS also provides that those who knowingly and willfully solicit or receive, offer or pay

   anything of value, whether directly or indirectly, in exchange for or to induce the referral

   of items or services for which a federal health care program may make payment shall be

   guilty of a felony. 42 U.S.C. § 1320a-7b(b)(1).




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    57. To be a kickback, the value that is conveyed to a referrer does not need to be an outright

         payment to the referrer. There are many artifices by which value can be conveyed; to wit,

         forgiving an obligation conveys value, charging less than fair market value conveys value,

         providing services of anything in kind without a commensurate payment conveys value.

         Regardless of how value is conveyed, it is a kickback if one purpose is to induce referrals

         for services covered by Medicare or Medicaid. See, e.g., United States v. Greber, 760 F.2d

         68, 69 (3rd Cir. 1985), cert. denied, 474 U.S. 988 (1985) (holding that under the “one

         purpose” test “if one purpose of the payment was to induce referrals, the medicare [sic]

         statute has been violated.”

    58. The purpose of the AKS is to protect the Medicare and Medicaid programs from increased

         costs and abusive practices resulting from provider decisions that are based on self-interest

         rather than the cost, quality of care, or necessity of health services. Violations of AKS form

         a basis for False Claims Act (“FCA”) liability. See 42 U.S.C. § 1320(a)-7b(g).

         Additionally, violations of the AKS are a per se false claim under the FCA.9 Thus,

         complying with AKS is essential to protecting Medicare and Medicaid and is material to

         payment and participation in government-funded health care programs.

         Fraud Modality One: Sham Joint Ventures and the OIG Guidance

    59. The payment of kickbacks for referrals is unlawful, as further explained below. As such,

         to cover up the kickbacks, CRHA creates sham joint ventures with its referral sources so




9
 United States ex rel. Lutz v. United States, 853 F.3d 131, 135 (4th Cir. 2017); see also United States ex rel.
McFarland v. Fla. Pharmacy Sols., 358 F. Supp. 3d 1316, 1326–27 (M.D. Fla. 2017) (“But a False Claims Act
claim predicated on a violation of the amended Anti-Kickback Statute need not allege materiality because a
violation of the Anti-Kickback Statute presumptively establishes a False Claims Act violation. 42 U.S.C. § 1320(a)-
7(b)(g) (“[A] claim that includes items or services resulting from a violation of this section constitutes a false *1327
or fraudulent claim for purposes of [the False Claims Act].”)

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           as to have a conduit for the payment of the kickbacks to those referral sources, as explained

           in more detail below.

       60. CRHA’s fraudulent scheme is remarkably simple. CRHA approaches physicians (and/or

           their group) who control anesthesia referrals and who already own both ASCs and

           anesthesia companies that service their ASCs. CRHA convinces these physicians to

           enter into a joint venture for anesthesia services with CRHA that allows CRHA to

           provide all anesthesia services to the ASC.10

       61. To affect the transaction and to help disguise the true nature of the kickback payment,

           CRHA establishes entities prior to the transaction. After establishing the entity, the CRHA-

           created entity begins to provide all of the anesthesia services for the ASC. In effect, the

           newly established entity simply replaces the then existing ASC and physician-owned

           anesthesia company. Yet, all of the anesthesia company employees remain the same and

           operationally, nothing changes after the CRHA established entity takes over. In fact, it

           would be difficult to even know there was a change in the entity providing anesthesia

           services as the ASCs.

       62. After forming a company (commonly, an LLC) CRHA pays the ASC physicians a lump

           sum payment for a majority ownership of the newly established anesthesia company that

           it itself recently formed. After a couple of years (depending on the terms of each

           transaction), CRHA then pays the ASC physicians an additional, second lump sum

           payment for the remaining interest in the anesthesia practice. The joint ventures were and

           are nothing more than a method for CRHA to lock up referrals and pay a kickback for such




10
     Exhibit 1

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   referrals, the very thing the OIG warned against in 2003 and 2012 as described immediately

   below.

63. In sum, in each instance and as further detailed below with respect to each specific joint

   venture, CRHA provided the anesthesia services for a kickback to the respective ASC

   partner. The kickback granted CHRA exclusive patient referrals from the ASC and its

   physician-owners. The arrangement specifically provides that the ASC partner has to pay

   the lump sum back to CRHA if he/she leaves the practice before a designated period of

   time. This arrangement potentially jeopardizes patient safety since the surgeons are

   effectively bound to the anesthesia company. If the surgeons think the anesthesia company

   is performing poorly, they have a significant financial incentive to maintain the status quo

   and potentially tolerate sub-standard service.

   OIG 2003 Opinion

64. The type of operation run by CRHA was the subject of guidance by the OIG, who

   expressed concern about joint ventures when one entity is in a position to refer business

   to another that furnishes services for which a Federal health care program pays. See

   Special Advisory Bulletin, “Contractual Joint Ventures,” 68 FR 23148 (Apr. 30, 2003).

65. In that Special Advisory Bulletin, the OIG detailed questionable arrangements where a

   health care provider in one line of business, such as an ASC (referenced as “owner” in the

   Bulletin), expands into a related health care business by contracting with an existing

   provider of a related item or service, such as CRHA (referenced as “supplier” in the

   Bulletin), to provide the new item or service to the ASC’s existing patient population,

   including Federal health care program patients. The OIG pointed out that those sham

   ventures often involve the supplier— here, the anesthesia company— not only managing



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           the new line of business, but also supplying it with inventory, employees, billing, and other

           services. Exclusivity is often a requirement of the joint venture.

       66. Basically, the joint venture in these sham arrangements consists of the ASC contracting

           out substantially the entire operation of the related anesthesia services that is the subject

           of the joint venture to the supplier of such services. CRHA would otherwise be a potential

           competitor to the existing anesthesia provider (that was owed by the ASC and/or its

           physicians), but in creating these sham arrangements, CRHA receives in return the profits

           of the business as remuneration for federal program referrals. And in exchange, the ASC

           and its physician owners receive lump sum payments for selling the referrals.11

       67. Each joint venture between CRHA and a referring physician/ASC fits squarely within

           the parameters of the OIG advisory opinion.

       68. The referring physicians/ASC expanded into a related line of business— an anesthesia

           company — which is dependent on referrals from, or business generated by the referring

           physicians’/ASC’s existing business.

       69. The referring physicians/ASC contracted out all of the operations of the new business to

           CRHA, an anesthesia supplier already in that business. CRHA (directly and through

           related entities as detailed below) agreed to provide not only the management services, but

           all other necessary services to run the business, such as anesthesia personnel, billing,

           support, etc.

       70. The referring physicians’/ASCs’ actual business risk was and is minimal (if any) because

           the referring physicians/ASCs have a captive patient base and the sole ability to influence




11
     Recently, CRHA also has begun to form anesthesia companies from the ground up.

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   referrals to the new business. CRHA was assured exclusivity through this arrangement

   when the JV became the exclusive provider of anesthesia services at the ASC.

71. Indeed, absent the joint venture, CRHA would have been a competitor of the referring

   physicians/ASCs owned and controlled anesthesia company line of business. After the

   lump-sum payment is made, which CRHA classified as a “purchase,” the ASC physicians

   do not have further involvement or control of the anesthesia company other than the ability

   to exclusively refer it patients. CRHA and its new entity simply continue to operate and

   manage the previously ASC physician-owned anesthesia company.

   OIG 2012 Opinion

72. Consistent with the foregoing, the OIG issued another Advisory Opinion in 2012 (No. 12-

   06), an opinion on a Requestor’s request for guidance regarding two proposals by an

   anesthesia services provider regarding entry into contracts with physician-owned

   professional corporations or limited liability companies to provide anesthesia services.

73. The Requestor inquired whether the proposed business arrangements constituted grounds

   for sanctioning under the exclusion authority at section 1128(b)(7) of the Social Security

   Act (the “Act”), or the Civil Monetary Penalty provision at section 1128A(a)(7) of the Act,

   as those sections relate to the commission of acts described in section 1128B(b) of the Act,

   the Federal Anti-Kickback Statute.

74. The first proposal involved double paying physicians for facility fees by way of a per-

   patient management fee paid to the ASC, even though those fees were not collected from

   Federal health care program patients. The second proposal involved physician/owners of

   an ASC establishing an anesthesia management company for the purpose of providing

   exclusive anesthesia services at the physician’s ASC. After analyzing the first proposal

   under the AKS’s regulatory framework (discussed below), the OIG concluded that, even if
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        federally funded patients were “carved out” of the scheme, the proposed arrangement

        implicates the AKS because the management fees would be paid to induce referrals.

     75. The physician owned ASC would be paid twice for the same services, once from the

        anesthesia services company and once from the Medicare facility fee. Further, the OIG

        concluded that the additional compensation could unduly influence the ASC to use the

        anesthesia services company as the exclusive provider of anesthesia services, which would

        be antithetical to the fundamental purpose of the AKS to ensure that physician referrals are

        based on sound medical judgment and that health care professionals will compete for

        business based on quality and convenience rather than by paying for referrals. In sum, the

        OIG concluded the arrangement implicated the AKS.

     76. Similar to the present case, CRHA seeks out gastroenterologists who own both the ASCs

        and the affiliated anesthesia company.12 CRHA pays a lump sum to the physicians not

        only for an apparent ownership in the anesthesia company but also for exclusive referrals.

        Relator believes that in order to guarantee these referrals, the physicians agree to return the

        lump sum if they leave the ASC practice.

     77. The second proposal followed the same fate— likely violations of the AKS— for different

        reasons; to wit, the OIG’s long running concern that physician investment in ASCs where

        the physicians also refer patients may serve to reward referrals rather than reward sound

        medical judgment. In fact, when the ASC safe harbor rule was promulgated, OIG stated

        its main concern was that “a return on investment in an ASC might be a disguised payment

        for referrals.” See 64 Fed. Reg. 63,536 (Nov. 19, 1999).




12
  Such physician ownership of both the ASC and anesthesia company is arguably a fraudulent scheme by itself as
the arrangement allows for the physician ASC owners to directly profit from their referred anesthesia services.

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78. In the model under review, the ASC’s physician owners established separate companies

   for the purpose of providing anesthesia-related services to outpatients undergoing surgery

   at their ASCs. These companies were the sham joint venture agreements identified in the

   OIG April 2003 guidance.

79. These joint ventures were wholly owned by the physician PCs and LLCs. The joint venture

   would exclusively furnish and bill for all anesthesia-related services provided at the

   surgical centers. The sham JV would, in turn, engage the anesthesia service provider (AP)

   as an independent contractor to provide anesthesia-related services to the ASCs on an

   exclusive basis thereby meeting the elements and characteristics of the joint venture in the

   2003 guidance.

80. In this second proposed arrangement, the ASC would pay a negotiated rate for the services.

   This is tantamount to what each ASC would pay each joint venture in this case. The fees

   for the services in the second proposed arrangement would be paid out of the collections

   made by the joint venture for anesthesia-related services, with the joint venture retaining

   any profits, exactly as is the case with joint ventures.

81. The OIG noted that no safe harbor would apply because such payment on the profits would

   be prohibited under the anti-kickback statute if one purpose of that remuneration is to

   generate or reward referrals for anesthesia services.

82. OIG further opined that this second proposed arrangement poses more than a minimal risk

   of fraud and abuse. As discussed previously regarding OIG’s guidance on joint ventures,

   the OIG has long-standing concerns about arrangements between those in a position to

   refer business, such as the ASC’s physician-owners here, and those furnishing items or

   services for which Medicare or Medicaid pays, especially when all or most of the business

   of the joint venture is derived from one or more of the joint ventures.
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83. In fact, the OIG recognized that this arrangement shared several common elements with

   the suspect joint venture arrangements previously analyzed in the Special Advisory

   Bulletin on “Contractual Joint Ventures.” See 68 Fed. Reg. 23,148 (Apr. 30, 2003) (the

   “Special Advisory Bulletin”).

84. Like the Owner in the arrangement described in the April 2003 Special Advisory Bulletin,

   the ASC’s physician-owners would be expanding into a related line of business—

   anesthesia services—that would be wholly dependent on the ASC’s referrals. The ASC’s

   physician-owners would not actually participate in the operation of the joint venture but

   rather would contract out substantially all of the operations exclusively to the anesthesia

   services provider. And, like the Owner in the Special Advisory Bulletin in 2003, the ASC’s

   physician-owners’ actual business risk would be minimal because they would control the

   amount of business, they would refer to the joint venture.

85. In the 2012 opinion, the OIG also concluded that these arrangements are designed to permit

   the ASC’s physician-owners to do indirectly what they cannot do directly; that is, to receive

   compensation, in the form of a portion of anesthesia service revenues, in return for their

   referrals to the anesthesia services provider.

86. The OIG’s conclusion was further supported by the Requestor’s claim or market pressure

   (from the ASCs) to enter into the Proposed Arrangements to compete with other anesthesia

   groups in the area who engaged in similar schemes, exactly as is the case with CRHA. In

   other words, the AP in the proposed arrangement must “pay to play” or lose the ASC’s

   business.

87. This case fits squarely within the parameters outlined by the OIG in its 2003 and 2012

   guidance. CRHA is that provider of anesthesia services which has entered into sham joint

   ventures with its referral sources in order to lock in a stream of anesthesia referrals and
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   disguise the payment of kickbacks to those providers as lump sum payments for purchase

   of ownership interest in the anesthesia companies in violation of the OIG’s guidance, the

   AKS, and the federal and state False Claims Acts, as further detailed below.

                           COMPANY WRONGDOING

88. Relator was contacted by an employee of Anesthesia Associates of the Rockies (“AAR”)

   to inquire about Relator’s anesthesia company potentially providing anesthesia services for

   Rocky Mountain Gastroenterology at its ASC.

89. At that time, AAR was an anesthesia company owned by the gastroenterologists at Rocky

   Mountain Gastroenterology.

90. AAR was established in 2009 and its then registered agent was Craig Bakken. In 2015,

   AAR’s registered agent changed to Alexander Cmil. Mr. Cmil is the CEO of Rocky

   Mountain Gastroenterology (“RMG”).

91. RMG exclusively used AAR for all anesthesia services provided at RMG’s ASC. This self-

   referral arrangement was in clear violation of the AKS.

92. In June 2017, Central Colorado Anesthesia Associates (“CCAA”) was formed as a

   Colorado LLC. CCAA’s principal office was located in Bellevue, WA and CCAA was

   formed by CRH’s Jay Kreger and Richard Bear. Its Bellevue, Washington address was also

   that of CRHA.

93. Between June 2017 and September 2017, CCAA became the exclusive provider of

   anesthesia services to RMG.

94. In September 2017, CRHA purported to purchase 51% of CCAA, which is the company

   CRHA only recently formed in Colorado.

95. CRHA did not directly purchase AAR from RMG or its physician owners in order to

   disguise the fraudulent lump sum kickbacks. CRHA made the payment to purchase the new
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           entity it itself formed. The purchase money flowed directly to RMG. CRHA purchased

           51% of CCAA for consideration of $7,909,243. This purchase allowed CRHA to obtain

           exclusive referrals from and at RMG.

       96. Cindy Hamilton, former human resource and payroll manager of RMG at the time of these

           transactions, would have first-hand knowledge of the financial details. She was fired by

           CRHA in November 2017.

       97. Two years later, in September 2019, RMG sold the remaining 49% ownership to CRHA

           for an additional lump sum payment. This transaction was disguised such that AAR was

           not actually sold but rather, CRHA purchased the entity it created (CCAA), and the money

           simply flowed through to RMG and its physicians.

       98. According to CRH’s SEC filings, “[o]n August 31, 2019, a subsidiary of the Company

           [CRH] entered into a membership interest purchase agreement to purchase the remaining

           49% interest in Central Colorado Anesthesia Associates LLC (“CCAA”); prior to the

           purchase the Company held a 51% interest in the CCAA entity. The purchase consideration

           paid via cash, for the acquisition of the remaining 49% interest was $7,000,000 plus 49%

           of CCAA’s working capital as of August 31, 2019. Additionally, the Company incurred

           deferred acquisition costs of $18,658.”13 The purchase money flowed directly to RMG and

           its physician owners like the initial payment in 2017.

       99. After the initial purchase, CCAA retained all the AAR employees and no operational

           changes were made.




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     CRH, 10-Q, 9-30-20, P. 17

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   The State FCAs

100.       The fraud in question took place in at least thirteen (13) States. Medicaid is a jointly

   funded federal and state program that enables States to provide medical assistance to

   persons whose income and resources are insufficient to meet the costs of necessary medical

   services.

101.       To the extent Defendants submitted anesthesia claims to Medicaid for services that

   were induced by kickbacks, those claims are also false under the Colorado, Florida,

   Georgia, Indiana, Louisiana, Massachusetts, North Carolina, Tennessee, Texas, Virginia,

   and Washington FCAs which are materially identical to the federal FCA. See, e.g., Georgia

   Taxpayer Protection False Claims Act, codified at 23-3-120 TO 23-3-127 (as amended Ga.

   L. 2013, p. 141, § 23/HB 79) and State False Medicaid Claims Act, codified at 49-4-168

   TO 49-4-168.6 (as amended Ga. L. 2013, p. 141, § 49/HB 79); the Texas Medical

   Assistance Program, Damages and Penalties, codified at Human Resources Code § 32.039

   (as amended through Acts 2007, 80th leg., ch. 127) and Medicaid Fraud Prevention

   (including actions by private persons), codified at Human Resources Code §§ 36.001 et

   seq. (as amended through Acts 2013, 83nd Leg., ch. 1311); North Carolina Taxpayer

   Protection False Claims Act, codified at N.C.G.S §§1-605 through 617 (as amended by

   Session Law 2010-96); Florida Taxpayer Protection Claims Act, codified at Statutes, Title

   VI, Chapter 68, Sections 68.081-68.092; Massachusetts Taxpayer Protection False Claims

   Act, codified at M.G.L. c. 12, §§ 5A-5O; the Louisiana Taxpayer Protection False Claims

   Act, codified at La. R.S. 46:438.1 et seq. (As amended through Acts 2011, No. 185);

   Colorado Taxpayer Protection False Claims Act, codified at Section 25.5-4-303.5 to 25.5-

   4-310; the Tennessee Taxpayer Protection False Claims Act, codified at TCA § 4-18-101



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   et seq., and Tennessee Medicaid False Claims Act, T.C.A. § 71-5-181 et seq.; Indiana False

   Claims and Whistleblower Protection Act, codified at 5-11-5.5 et seq. (as amended through

   P.L. 109-2014); Indiana Medicaid False Claims and Whistleblower Protection Act,

   codified at 5-11-5.7 et seq. (as amended through P.L. 109-2014); Washington State

   Medicaid Fraud False Claims Act, codified at RCW Title 74, et seq. (Added by Chapter

   241, Laws 2012. Effective date June 7, 2012. Renewed March 31, 2016); and Virginia

   Fraud Against Taxpayers Act § 8.01-216.2 (As amended through 2012, chapter 479).

102.       In sum, the Defendants in this case have created a scheme of sham joint ventures

   by which they secure anesthesia referrals and pay kickbacks for same to the referrers of

   those services, who are also the ASC owners where the surgeries take place.

103.       These arrangements are accompanied by exclusive anesthesia service agreements,

   contractual or de facto.

104.       It can be readily inferred under these circumstances that one purpose was to induce

   and reward referrals in violation of AKS.        Accordingly, Defendants are liable for

   submitting and causing the submission of false claims under the FCA since 2014 and

   continuing to this day.

                                 COUNT ONE
  Federal False Claims Act-Presentation of False Claim-31 U.S.C. § 3729(a)(1)(A)


105.       Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully

   set forth herein.

106.       This is a claim for penalties and treble damages under the Federal False Claims

   Act.




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107.        In performing the acts described above, Defendants, through the acts of their

   officers, agents, and employees for the purpose of defrauding the Government, knowingly

   made or caused to be made false or fraudulent claims for payment to Medicare, Medicaid,

   and other federal government health programs within the meaning of 31 U.S.C. §

   3729(a)(1)(A).

108.        As a result, federal monies were lost through payments made in respect of the

   claims and other costs were sustained by the Government.

109.        Therefore, the Federal Government has been damaged in an amount to be proven at

   trial.

110.        Additionally, the Federal Government is entitled to the maximum penalty for each

   and every false and fraudulent claim made and caused to be made by Defendants and

   arising from their fraudulent conduct as described herein.


                                      COUNT TWO
         Federal False Claims Act-False Statements-31 U.S.C. § 3729(a)(1)(B)

111.        Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully

   set forth herein.

112.        In performing the acts described above, Defendants through the acts of their

   officers, agents, and employees knowingly made, used, or caused to be made or used, false

   records or statements to get a false or fraudulent claim paid by the Government in violation

   of 31 U.S.C §3729(a)(1)(B).

113.        The United States, unaware of the foregoing circumstances and conduct of the

   Defendants, made payments which resulted in its being damages in an amount to be

   determined.



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 114.       Additionally, the Federal Government is entitled to the maximum penalty for each

    and every false and fraudulent claim paid or approved arising from the Defendants

    fraudulent conduct as described herein.

                                 COUNT THREE
Federal False Claims Act-Conspiracy to Make False Claims and Statements-31 U.S.C. §
                                   3729(a)(1)(C)

 115.       Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully

    set forth herein.

 116.       In performing the acts described above, Defendants through the acts of their

    officers, agents, and employees conspired and acted in concert to make, used, or caused to

    be made or used, false claims and statements to get a false or fraudulent claims paid by the

    Government in violation of 31 U.S.C §3729(a)(1)(C).

 117.       The United States, unaware of the foregoing circumstances and conduct of the

    Defendants, made payments which resulted in its being damages in an amount to be

    determined.

 118.       Additionally, the Federal Government is entitled to the maximum penalty for each

    and every false and fraudulent claim paid or approved arising from the Defendants

    fraudulent conduct as described herein.

                                  COUNT FOUR
                            Payment Under Mistake of Fact


 119.       Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully

    set forth herein.

 120.       This is an action to recover monies paid by the United States and the States and

    Cities under a mistake of fact that was caused by Defendants through the activities

    described in the Complaint.
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121.       The United States and the States and Cities made payments for two (2)

   supplemental oxygen devices under the erroneous belief that the records, statements, and

   proposed amount upon which reimbursement was based were true, correct and proper.

122.       The United States and the States' erroneous beliefs were material to the payments

   made by the States, Cities and Federal Government.

123.       Because of these mistakes of fact, the United States and States and Cities paid

   moneys for genetic testing that was not properly reimbursable and to which the United

   States and the States and Cities are entitled.

124.       By reason of these payments, the United States and the States and Cities have

   suffered damages in an amount to be determined.

                                     COUNT FIVE
                                   Unjust Enrichment

125.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

126. This is an action to recover monies by which Defendants have been unjustly enriched.

127. Due to Defendants’ improper practices, the United States and the States and Cities

   paid monies by which Defendants have been unjustly enriched.

128. By reason of their payments, the United States and the States and Cities are entitled to

   damages in an amount to be determined.

                                     COUNT SIX
              (Colorado Medicaid False Claims Act C.R.S.A. §25.5-4-300.4 et seq.)

129.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

130.    This is a claim for penalties and treble damages under the Colorado Medicaid False

   Claims Act.

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131.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Colorado State Government, knowingly made, used, and/or caused to be made or used,

   false records or statements to get false claims paid or approved under Medicaid and other

   Colorado State funded programs within the meaning of C.R.S.A §25.5-4-304.11.

132.    As a result, Colorado State monies were lost through payments made in respect of the

   claims and other costs were sustained by the Colorado State Government.

133.    Therefore, the Colorado State Government has been damaged in an amount to be

   proven at trial and is entitled to treble damages as permitted by statute.

                                    COUNT SEVEN
                   Florida False Claims Act-Fla. Stat. § 68.081 et seq.)


134.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

135.    This is a claim for penalties and treble damages under the Florida False Claims and

   Reporting Act.

136.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Florida State Government, knowingly presented and/or caused to be presented,

   directly or indirectly, false or fraudulent claims for payment or approval under

   Medicaid and other Florida State funded programs to officers or employees of the state

   within the meaning of Fla. Stat. § 68.082(2)(a).

137.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Florida State Government, knowingly made, used, and/or caused to be made or

   used, directly or indirectly, false records or statements to get false or fraudulent




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   claims paid or approved under Medicaid and other Florida State funded programs within

   the meaning of Fla. Stat. § 68.081(2)(b).

138.    As a result, Florida State monies were lost through payments made in respect of the

   claims and other costs were sustained by the Florida State Government.

139.    Additionally, the Florida State Government is entitled to the maximum penalty for

   each and every false and fraudulent claim presented and caused to be presented by

   Defendants and arising from its fraudulent conduct as described herein.

                                COUNT EIGHT
   Georgia State Medicaid False Claims Act Ga. Code Ann. § 49-4-168 et seq.)


140.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

141.    This is a claim for penalties and treble damages under the Georgia State Medicaid

   False Claims and Reporting Act.

142.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Georgia State Government, knowingly presented and/or caused to be presented,

   directly or indirectly, false or fraudulent claims for payment or approval under

   Medicaid and other Georgia State funded programs to officers or employees of the

   state within the meaning of Ga. Code Ann. § 49-4-168. l (a)(l),

143.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Georgia State Government, knowingly made, used, and/or caused to be made or

   used, directly or indirectly, false records or statements to get false or fraudulent

   claims paid or approved under Medicaid and other Florida State funded programs within

   the meaning of Ga. Code Ann. § 49-4-168. l (a)(2),



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144.    As a result, Georgia State monies were lost through payments made in respect of the

   claims and other costs were sustained by the Georgia State Government.

145.    Additionally, the Georgia State Government is entitled to the maximum penalty for

   each and every false and fraudulent claim presented and caused to be presented by

   Defendants and arising from its fraudulent conduct as described herein.

                                 COUNT NINE
              (Louisiana Medical Assistance Program Integrity Law
                       La. Rev. Stat. 46:438.3(A) and (B))

146.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

147.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Louisiana State Government, knowingly presented and/or caused to be presented false or

   fraudulent claims for payment or approval under Medicaid and other Louisiana State

   funded programs within the meaning of La. Rev. Stat. 46:438.3(A).

148.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Louisiana State Government, knowingly engaged in misrepresentations to obtain, or

   attempt to obtain, payment from medical assistance program funds within the meaning of

   La. Rev. Stat. 46:438.3(B).

149.    As a result, Louisiana State monies were lost through payments made in respect of the

   claims and other costs were sustained by the Louisiana State Government.

150.    Therefore, the Louisiana State Government has been damaged in an amount to be

   proven at trial and is entitled to treble damages as permitted by statute.




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151.    Additionally, the Louisiana State Government is entitled to the maximum civil fine in

   the amount of three times the amount of actual damages sustained by the medical assistance

   programs as a result of the violations described herein. La. Rev. Stat. 46:438.6(A)(2).

                                   COUNT TEN
         (Massachusetts False Claims Act- Mass. Gen. L. Ch. 12, §§ 5 et seq.)

152.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

153.    This is a claim for penalties and treble damages under the Massachusetts False Claims

   Act.

154.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Massachusetts Commonwealth Government, knowingly made, used, and/or caused to be

   made or used, false records or statements to obtain payment or approval of claims by the

   Commonwealth within the meaning of Mass. Gen. L. Ch. 12, §§ 5B(2).

155.    As a result, Massachusetts Commonwealth monies were lost through payments made

   in respect of the claims and other costs were sustained by the Massachusetts

   Commonwealth Government.

156.    Therefore, the Massachusetts Commonwealth Government has been damaged in an

   amount to be proven at trial and is entitled to treble damages as permitted by statute.

157. Additionally, the Massachusetts Commonwealth Government is entitled to the

   maximum penalty for each and every false or fraudulent claim paid or approved arising

   from the Defendant's fraudulent conduct as described herein.




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                                 COUNT ELEVEN
          (North Carolina False Claims Act- N.C.G.S.A. § 1-605 et seq.)


158.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

159.    This is a claim for penalties and treble damages under the North Carolina False Claims

   Act.

160.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   North Carolina State Government, knowingly presented and/or caused to be presented false

   claims for payment or approval under Medicaid and other North Carolina State funded

   programs to officers or employees of the state within the meaning of N.C.G.S.A. § 1-606.

161.    As a result, North Carolina State monies were lost through payments made in respect

   of the claims and other costs were sustained by the North Carolina State Government.

162.    Therefore, the North Carolina State Government has been damaged in an amount to be

   proven at trial and is entitled to treble damages as permitted by statute.

163.    Additionally, the North Carolina State Government is entitled to the maximum penalty

   for each and every false claim presented and caused to be presented by Defendants and

   arising from its fraudulent conduct as described herein.

                                 COUNT TWELVE
 Indiana False Claims and Whistleblower Protection Act Code § 5-11-5.5 et seq.

164.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

165.    This is a claim for penalties and treble damages under the Indiana False Claims and

   Reporting Act.




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166.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Indiana State Government, knowingly presented and/or caused to be presented,

   directly or indirectly, false or fraudulent claims for payment or approval under

   Medicaid and other Indiana State funded programs to officers or employees of the state

   within the meaning of Ind. Code § 5-11-5.5-2(b)(1) and (8).

167.    By virtue of the acts described above, Defendants, for the purpose of defrauding

   the Indiana State Government, knowingly made, used, and/or caused to be made or

   used, directly or indirectly, false records or statements to get false or fraudulent

   claims paid or approved under Medicaid and other Indiana State funded programs within

   the meaning of Ind. Code § 5-11-5.5-2(b)(2) and (8).

168.    As a result, Indiana State monies were lost through payments made in respect of the

   claims and other costs were sustained by the Indiana State Government.

169.    Additionally, the Indiana State Government is entitled to the maximum penalty for each

   and every false and fraudulent claim presented and caused to be presented by Defendants

   and arising from its fraudulent conduct as described herein.

                                COUNT THIRTEEN
       (Tennessee Medicaid False Claims Act Tenn. Code Ann. § 4-18-101 et seq.)

170.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

171.    This is a claim for penalties and treble damages under the Tennessee Medicaid False

   Claims Act.

172.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Tennessee State Government, knowingly presented and/or caused to be presented to the




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   state claims for payment under the Medicaid program knowing such claims were false or

   fraudulent within the meaning of Tenn. Code Ann. § 4-18-103(1).

173.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Tennessee State Government, knowingly made, used, and/or caused to be made or used,

   records or statements to get false or fraudulent claims under the Medicaid program paid for

   or approved by the state knowing such record or statement were false within the meaning

   of Tenn. Code Ann. § 4-18-103(2).

                            COUNT FOURTEEN
  (Texas Medicaid Fraud Prevention Law Tex. Hum. Res. Code § 36.002 et seq.)


174.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

175.    This is a claim for restitution, interest, penalties and double damages under the Texas

   Medicaid Fraud Prevention Law.

176.    By virtue of the acts described above, the Defendants, for the purpose of defrauding

   the Texas State Government, knowingly or intentionally made, and/or caused to be made,

   false statements or representations of material facts on applications for contracts, benefits,

   or payments under the Medicaid program, within the meaning of Tex. Hum. Res. Code §

   36.002( l)(A).

177.    By virtue of the acts described above, the Defendants, for the purpose of defrauding

   the Texas State Government, knowingly or intentionally made, caused to be made, induced,

   and/or sought to induce, the making of false statements or misrepresentations of material

   fact concerning information required to be provided by a federal or state law, rule,




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   regulation, or provider agreement pertaining to the Medicaid program, within the meaning

   of Tex. Hum. Res. Code § 36.002(4)(B).

                            COUNT FIFTEEN
Washington Medicaid Fraud False Claims Act - WA Rev. Code 74.66.010 et seq.)

178.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

179.    This is a claim within the meaning of WA Rev. Code 74.66.020 for penalties and treble

   damages under the Washington Medicaid Fraud False Claims Act.

180.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Washington Government, knowingly made, used, and/or caused to be made or used, false

   records or statements to get false or fraudulent claims paid or approved by the Washington

   government entity under Medicaid funded programs within the meaning of WA Rev. Code

   74.66.020.263.

181.    As a result, Washington State monies were lost through payments made in respect of

   the claims and other costs that were sustained by the Washington State Government.

182.    Therefore, the Washington State Government has been damaged in an amount to be

   proven at trial and is entitled to treble damages as permitted by statute.

183.    Additionally, the Washington State Government is entitled to the maximum penalty for

   each and every false or fraudulent claim presented and caused to be presented by

   Defendants and arising from their fraudulent conduct as described herein.




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                                COUNT SIXTEEN
        (Virginia Fraud Against Taxpayers Act Va. Code Ann. § 8.01-216.1 et seq.)

184.    Relator re-alleges and incorporates paragraphs 1-104 of this Complaint as if fully set

   forth herein.

185.    This is a claim for penalties and treble damages under the Virginia Fraud Against

   Taxpayers Act.

186.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Virginia Commonwealth Government, knowingly presented and/or caused to be presented

   false or fraudulent claims for payment or approval under Medicaid and other Virginia

   Commonwealth funded programs to officers or employees of the Commonwealth within

   the meaning of Va. Code Ann. § 8.0 l -216.3(A)(l ).

187.    By virtue of the acts described above, Defendants, for the purpose of defrauding the

   Virginia Commonwealth Government, knowingly made, used, and/or caused to be made

   or used, false records or statements to get false or fraudulent claims paid or approved by

   the Commonwealth under Medicaid and other Virginia Commonwealth funded programs

   within the meaning of Va. Code Ann. § 8.0l -216.3(A)(2).

188.    As a result, Virginia Commonwealth monies were lost through payments made in

   respect of the claims and other costs were sustained by the Virginia Commonwealth

   Government.

189.    Therefore, the Virginia Commonwealth Government has been damaged in an amount

   to be proven at trial and is entitled to treble damages as permitted by statute.

190.    Additionally, the Virginia Commonwealth Government is entitled to the maximum

   penalty for each and every false or fraudulent claim presented and caused to be presented

   by Defendants and arising from their fraudulent conduct as described herein.

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                                    PRAYER FOR RELIEF

       WHEREFORE, Relator prays for the following relief:

A.     Judgment in an amount equal to treble the damages to be proven at trial against Defendants

and in favor of the United States and the States of Colorado, Florida, Georgia, Indiana, Louisiana,

Massachusetts, North Carolina, Tennessee, Texas, Virginia, and Washington plus the maximum

penalty for each violation of 31 U.S.C. § 3729 proven at trial;

B.     Judgment in amount of proven damages at trial for payment in mistake of fact and unjust

enrichment;

C.     An award to Relator of the maximum amount allowed pursuant to 31 U.S.C. § 3730(d) and

equivalent provisions in the state statutes set forth above, including the costs and expenses of this

action and reasonable attorneys' fees;

D.     An award to Relator for the maximum amount allowed pursuant to 31 U.S.C. § 3730(h),

including twice the amount of back pay, interest on the back pay, and compensation for any special

damages sustained by him, including litigation costs and reasonable attorney’s fees.

E.     All such other, further, and different relief, whether preliminary or permanent, legal,

general, or equitable, as the Court deems just and proper.

                                         JURY DEMAND

       Relator hereby demands a trial by Jury in this matter.

Date: March 11, 2021




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                            Respectfully submitted,

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